ClerGE8e B018-cv-00567-RAL-AAS Document 1-2 Filed 03/09/18 Page 1 of 22 Pagalk 7 of 1

 

Helpful Tips ~:

User Name - ROBERT SICKLES
Group - Registered User

ClerkNet

  
 

 

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~Case Detail

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case Number. 2018 SC 000516 NC Uniform Case Number. 582018SC000516XXXANC Case Status: OPEN
Case File Date: 01/25/2018 Case Close Date: Judge: QUARTERMAINE, ERIKA N.
~Party Information
Party Name Party Type Attorney (Date Dismissed)
REGILIO, GAIL Plaintiff SWIFT, AARON
BRIDGECREST CREDIT COMPANY LLC Defendant SICKLES, ROBERT
Case Events
Date Time Location Description Court Result
02/20/2018 09:00 AM COURTROOM 7B PRE-TRIAL CONFERENCE - SMALL CLAIMS
03/20/2018 09:00 AM COURTROOM 78 PRE-TRIAL CONFERENCE - SMALL CLAIMS
Case Fees
Fee Description Total Fee Amount Paid Waived Amount Amount Outstanding
STATEMENT OF CLAIM - $500 TO $2500 $175.00 $175.00 $0.00 $0.00
SUMMONS COUNTY EFILED - REQUEST FOR ISSUANCE $10.00 $10.00 $0.00 $0.00
TOTAL $185.00 $185.00 $0.00 $0.00
~Case Docket
Attorney of record view.
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tities, - Available ~ Confidential BEE - sealed MB - Viewable on Request (VOR) - VOR Pending
Create PDF From Selected
Add All Docket Date Description Pages | Image
3/7/2018 NOTICE OF APPEARANCE - FOR PLAINTIFF 2 iy
3/7/2018 MOTION - INVOKE RULES OF CIVIL PROCEDURE 2 ee
2/20/2018 NOTICE - RULE 7.090. APPEARANCE DEFENSIVE PLEADING TRIAL DATE 4 ley
2/20/2018 PRE-TRIAL CONFERENCE - SMALL CLAIMS SET FOR 03/20/2018 AT 9:00 AM IN 7B , JOG: QUARTERMAINE, ERIKA N. 0
2/20/2018 ORDER SETTING PRETRIAL 1 ay
2/20/2018 COURT APPEARANCE RECORD. 1 za
2/15/2018 NOTICE OF APPEARANCE AS COUNSEL FOR DEFENDANT AND DESIGNATION OF E-MAIL ADDRESSES 2 ee
2/13/2018 SUMMONS SERVED - BRIDGECREST CREDIT COMPANY LLC 3 ey
2/12/2018 PAYMENT $10.00 RECEIPT #2018014530 1 ey
1/29/2018 LETTER - OUTSTANDING FEES 1 ay
1/25/2018 PAYMENT $175.00 RECEIPT #2018008347 1 ey
1/25/2018 SUMMONS ISSUED - COUNTY-BRIDGECREST CREDIT COMPANY LLC 2 ley
1/25/2018 PRE-TRIAL CONFERENCE - SMALL CLAIMS SET FOR 02/20/2018 AT 9:00 AM IN 7B , JOG: QUARTERMAINE, ERIKA N. 0
1/25/2018 STATEMENT OF CLAIM - $500 TO $2500 5 ie

 

 

 

 

 

 

 

 

 

3/8/2018

https://secure.sarasotaclerk.com/CaseInfo.aspx
Case 8:18-cv-00567-RAL-AAS Document 1-2 Filed 03/09/18 Page 2 of 22 Pagelke $ of 2

Case Details
Case Number: 2018 SC 000516 NC Uniform Case Number: 582018SCO00516XXXANC
Case Status: OPEN Case File Date: 01/25/2018
Case Close Date: Judge: QUARTERMAINE, ERIKA N.

Party Information

 

 

 

 

 

Party Name Party Type Attorney (Date Dismissed)
REGILIO, GAIL _ Plaintiff SWIFT, AARON
BRIDGECREST CREDIT COMPANY LLC "Defendant _ SICKLES, ROBERT

 

 

Case Events

 

Date Time Location Description Court Result

 

 

 

 

 

02/20/2018 09:00 AM _ COURTROOM 78 | PRE-TRIAL CONFERENCE - SMALL CLAIMS
03/20/2018 09:00 AM COURTROOM 7B | PRE-TRIAL CONFERENCE - SMALL CLAIMS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case Fees

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SUMMONS COUNTY EFILED - REQUEST
FOR ISSUANCE $10.00 $10.00 $0.00 _ $0.00
TOTAL $185.00 $185.00 $0.00 $0.00

Case Docket
Docket Date Description Pages
ae 2078 12:00:00 NOTICE OF APPEARANCE - FOR PLAINTIFF 2
es 12:00:00 | MOTION - INVOKE RULES OF CIVIL PROCEDURE | 2
2/20/2018
12:00:00 AM / NOTICE - RULE 7.090. APPEARANCE DEFENSIVE PLEADING TRIAL DATE | 4
2/20/2018 PRE-TRIAL CONFERENCE - SMALL CLAIMS SET FOR 03/20/2018 AT 9:00 AM 0
12:00:00 AM IN 7B , JOG: QUARTERMAINE, ERIKA N.
2/20/2018 |
12:00:00 AM ORDER SETTING PRETRIAL 1
2/20/2018
12:00:00 AM ! COURT APPEARANCE RECORD ; 1

 

 

https://secure.sarasotaclerk.com/CaseInfoPrint.aspx 3/8/2018
Case 8:18-cv-00567-RAL-AAS Document 1-2 Filed 03/09/18 Page 3 of 22 Pagel 9 of 2

 

 

Docket Date | Description | Pages
2/15/2018 "NOTICE OF APPEARANCE AS COUNSEL FOR DEFENDANT AND DESIGNATION | 2
12:00:00 AM _ OF E-MAIL ADDRESSES
2/13/2018 /
1-00.00 AM | SUMMONS SERVED - BRIDGECREST CREDIT COMPANY LLC : 3
2/12/2018 |
(2-00.00 AM PAYMENT $10.00 RECEIPT #2018014530 1
1/29/2018
12-00-00 AM LETTER - OUTSTANDING FEES / 1
1/25/2018
1-00.00 AM PAYMENT $175.00 RECEIPT #2018008347 /
1/25/2018 :
12-00-00 AM - SUMMONS ISSUED - COUNTY-BRIDGECREST CREDIT COMPANY LLC | 2
1/25/2018 PRE-TRIAL CONFERENCE - SMALL CLAIMS SET FOR 02/20/2018 AT 9:00 AM 0
12:00:00 AM IN 7B , JOG: QUARTERMAINE, ERIKA N.
1/25/2018
12-00.00 AM _ STATEMENT OF CLAIM - $500 TO $2500 : 5

 

 

 

https://secure.sarasotaclerk.com/CaseInfoPrint.aspx 3/8/2018
Case 8:18-cv-00567-RAL-AAS Document 1-2 Filed 03/09/18 Page 4 of 22 PagelD 10

IN THE COUNTY COURT IN AND FOR SARASOTA COUNTY, FLORIDA

GAIL REGILIO )
4900 CENTRAL AVE )
ST. PETERSBURG, FL 33707

PLAINTIFF )

}) CASENO.: 2018 SC 000516 NC
~ VS -

/ JUDGE: ERIKA N. QUARTERMAINE
BRIDGECREST CREDIT COMPANY LLC
CORPORATION SERVICE COMPANY
1201 HAYS STREET

TALLAHASSEE, FL 32301

DEFENDANT

ee ee

SUMMONS/NOTICE TO APPEAR FOR PRETRIAL CONFERENCE

STATE OF FLORIDA - NOTICE TO ABOVE PLAINTIFF(S) AND DEFENDANT(S) -
YOU ARE HEREBY NOTIFIED that you are required to appear in person or by an attorney for a PRETRIAL
CONFERENCE before a judge of this court at:
COURTROOM 7-8, on Tuesday, 20 February, 2018 at 9:00 AM
Judge Lynn Silvertooth Judicial Center
2002 Ringling Boulevard
Sarasota, FL 34237
IMPORTANT - READ CAREFULLY**

THE CASE WILL NOT BE TRIED AT THAT TIME. DO NOT BRING WITNESSES. APPEAR IN PERSON OR BY
ATTORNEY.
YOU MUST WEAR PROPER ATTIRE.

The defendant(s) must appear in court on the date specified in order to avoid a default judgment. The plaintiff(s) must
appear to avoid having the case dismissed for lack of prosecution. A written MOTION or ANSWER to the court by the
plaintiff(s) or the defendant(s) shall not excuse the personal appearance of a party or its attorney in the pretrial conference.
The date and/or time of the pretrial conference CANNOT be rescheduled without good cause and prior court approval.
Any request for rescheduling must be in writing and sent to the other side. NO PARTY MAY EXCUSE ANY OTHER
PARTY FROM ATTENDANCE AT THE REQUIRED PRETRIAL CONFERENCE.

A corporation may be represented at any stage of the trial court proceedings by an officer of the corporation or any
employee authorized in writing by an officer of the corporation. Written authorization must be brought to the Pretrial
Conference.

The purpose of the pretrial conference is to record your appearance, to determine if you admit all or part of the claim,
fo enable the court to determine the nature of the case, and to set the case for trial if the case cannot be resolved at the
pretrial conference. You or your attorney should be prepared to confer with the court and to explain briefly the nature of
your dispute, state what efforts have been made to settle the dispute, exhibit any documents necessary to prove the case,
state the names and addresses of your witnesses, stipulate to the facts that will require no proof and will expedite the trial,
and estimate how long it will take to try the case.

Mediation may take place at the pretrial conference. Whoever appears for a party must have full authority to settle.
Failure to have full authority to settle at this pretrial conference may result in the imposition of costs and attorney fees
incurred by the opposing party.

If you admit the claim, but desire additional time to pay, you must come and state the circumstances to the court. The
court may or may nol approve a payment plan and withhold judgment or execution or levy.

Filed 01/25/2018 05:04 PM - Karen E. Rushing, Clerk of the Circuit Court, Sarasota County, FL
Case 8:18-cv-00567-RAL-AAS Document 1-2 Filed 03/09/18 Page 5 of 22 PagelD 11

RIGHT TO VENUE: The taw gives the person or company who has sued you the right to file in any one of
several places as listed below. However, if you have been sued in any place other than one of these places, you,
as the defendant(s), have the right to request that the case be moved to a proper location or venue. A proper
location or venue may be one of the following: 1) Where the contract was entered into; 2) If suit is on an
unsecured promissory note, where note is signed or where maker resides; 3) If the suit is to recover property or
to foreclose a lien, where the property is located; 4) Where the event giving rise to the suit occurred; 5) Where
any one or more of the defendant(s) sued resides; 6) Any location agreed to in a contract; 7) In an action for
money due, if there is no agreement as to where suit may be filed, where payment is to be made.

If you, as a defendant(s), believe the plaintiff(s) has/have not sued in one of these correct places, you must

appear on your court date and orally request a transfer, or you may file a WRITTEN request for transfer, in
affidavit form (sworn to under oath) with the court seven days prior to your first court date and send a copy to the

plaintiff(s) or plaintiff(s’) attorney, if any.

A copy of the statement of claim shall be served with this summons.

assy. KAREN E. RUSHING
nt fog

- Gy CLERK OF THE CIRCUIT COURT

‘wt C Brandenburg, Deputy Clerk

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DATE: January 25, 2018

If you are a person with a disability who needs any accommodation in order to
participate in this proceeding, you are entitled, at no cost to you, to the provision of
certain assistance. Please contact the Sarasota County Jury Office, P.O. Box 3079,
Sarasota, Florida 34230-3079, (941)861-7400, at least seven (7) days before your
scheduled court appearance, or immediately upon receiving this notification if the time
before the scheduled appearance is less than seven (7) days; if you are hearing or voice

impaired, call 711.

If you cannot afford an attorney, contact Gulfcoast Legal Services at (94 1)366-1746 or www.quifcoastlegal.org, or Legal
Aid of Manasota at (941)366-0038. If you do not qualify for free legal assistance or do not know an attorney, you may call
an attorney referral service (listed in the phone book), or contact the Florida Bar Lawyer Referral Service at (800)342- 8011

or <http://www floridabar.org/divpqmilrontine.nsf/wreferral6?OpenForm> .

CLERK OF THE CIRCUIT COURT

P.O. Box 3079 or 4000 South Tamiani Trail
Sarasota, Florida 34230 Venice, Florida 34293

Filed 01/25/2018 05:04 PM - Karen E. Rushing, Clerk of the Circuit Court, Sarasota County, FL
Case 8:18-cv-00567-RAL-AAS Document 1-2 Filed 03/09/18 Page 6 of 22 PageID 12

Filing # 67873079 E-Filed 02/13/2018 09:53:34 AM

RETURN OF SERVICE

 

 

 

State of Florida County of Sarasota County Court
Case Number: 2018 SC 000516 NC Court Date: 2/20/2018 9:00 am alae 8
GAIL REGILIO TPL2018014749

VS.

Defendant:

BRIDGECREST CREDIT COMPANY LLC CORPORATION SERVICE COMPANY

For:

Jon P. Dubbeld, Esquire
Berkowitz & Myer

2820 1st Avenue North
St. Petersburg, FL 33713

Received by TROPICAL SURVEILLANCE AND INVESTIGATIONS on the 7th day of February, 2018 at 5:33 pm to be served
on BRIDGECREST CREDIT COMPANY LLC CORPORATION SERVICE GOMPANY, 1201 HAYS STREET,
TALLAHASSEE, FL 32301.

|, WYATT KADY, do hereby affirm that on the 8th day of February, 2018 ai 12:45 pm, I:

served a CORPORATE, PARTNERSHIP, ASSOCIATION OR GOVERNMENT SERVICE by delivering a true copy of the
Summons/Notice to Appear for Pre-Trial Conference/Mediation and Statement of Claim with the date and hour of
service endorsed thereon by me, to: GWEN BUTLER as CUSTOMER SERVICE SPECIALIST authorized to accept service,
of the within named corporation, at the address of. 1201 HAYS STREET, SUITE 105, TALLAHASSEE, FL 32301 on behalf of
BRIDGECREST CREDIT COMPANY LLC, and informed said person of the contents therein, in compliance with state
statutes.

Additional Information pertaining to this Service:
Latitude: 30.4426974; Longitude: -84.2632051

Description of Person Served: Age: 68, Sex: F, Race/Skin Color: WHITE, Height: 56", Weight: 180, Hair: BLONDE, Glasses:
Y

| certify that | am over the age of 18, have no interest in the above action, and am a Certified Process Server, in good
standing, in the judicial circuit in which the process was served. “Under penalties of
perjury, | declare that | have read the foregoing document and that the facts in it are true" F.S. 92.525. NOTARY NOT
REQUIRED PURSUANT TO FS 92.525

TROPICAL SURVEILLANCE AND
INVESTIGATIONS

Po Box 10961

Tampa, FL 33679

(813) 258-8885

Our Job Serial Number: TPL-2018014749
Ref. Regilio v Bridgecrest,

-2018 Database Services, inc - Process Server's Toolbox Vi 1:

 

Filed 02/13/2018 10:57 AM - Karen E. Rushing, Clerk of the Circuit Court, Sarasota County, FL
Case 8:18-cv-00567-RAL-AAS Document 1-2

IN THE COUNTY COURT IN AND FOR SARASOTA COUNTY, FLORIDA

)
GAIL REGILIO )
4900 CENTRAL AVE }
ST. PETERSBURG, FL. 33707
PLAINTIFF }
} CASENO.: 2018 SC 000516 NC
~ VS ~ )
)
} JUDGE: ERIKA N. QUARTERMAINE
BRIDGECREST CREDIT COMPANY LLC }
CORPORATION SERVICE COMPANY )

1201 HAYS STREET
TALLAHASSEE, FL 32304

DEFENDANT

SUMMONS/NOTICE TO APPEAR FOR PRETRIAL CONFERENCE

STATE OF FLORIDA - NOTICE TO ABOVE PLAINTIFF(S) AND DEFENDANT(S) -
YOU ARE HEREBY NOTIFIED thal you are required to appear in person or by an attorney for a PRETRIAL
CONFERENCE before a judge of this court at:
COURTROOM 7-B, on Tuesday, 20 February, 2018 at 9:00 AM
Judge Lynn Silvertooth Judicial Center
2002 Ringling Boulevard
Sarasota, FL. 34237
“IMPORTANT - READ CAREFULLY*

THE CASE WILL NOT BE TRIED AT THAT TIME. DO NOT BRING WITNESSES. APPEAR IN PERSON OR BY
ATTORNEY.
YOU MUST WEAR PROPER ATTIRE.

The deferdanlis) must appear in court on the date specified in order to avoid a default judgment. The plaintiff(s} musi
appear to avoid having the case dismissed fer lack of prosecution. A written MOTION or ANSWER io the court by the
plaintifis) or the defendant(s} shall not excuse the personal appearance of a parly or its attorney in the pretrial conference .
The dale and/or time of the pretrial conference CANNOT be rescheculed without good cause and prior court approval.
Any request for rescheduling must be in writing and sent to the other side. NO PARTY MAY EXCUSE ANY OTHER
PARTY FROM ATTENDANCE AT THE REQUIRED PRETRIAL CONFERENCE.

A corporation may be represented al any slage of the trial court proceedings by an officer of the corporation or any
employee authorized in writing by an officer of the corperation. Whitten authorization rnust be brought tc the Pretrial
Comerence,

The purpose of the pretrial conference is to record your appearance, to determine if you admit all cr part ef the clei

 

    
  
 

  
  
 

to en ihe court to determine the nalure of the case, and te set the case for irial if the case cannot be Wed ai the
preinal comference. You or your allerney should be prepared to confer wiih ihe court and to exolsin be ture at

    
  
 

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and estimate how long it will t

made {io settle the dispute, exhibit any documenis necessary io prove the case,
witnesses, stipulate to the facts that will require no proof ard will expedite the Inal
to try the case.

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Whoever appears for 2a pary must have full euthority io settle.
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ited 01/25/2038 05:04 PAT - Karen E. Rushing, Clerk of the Circuit Court, Sarasota County, FL

 

Filed 03/09/18 Page 7 of 22 PagelID 13
Case 8:18-cv-00567-RAL-AAS Document 1-2 Filed 03/09/18 Page 8 of 22 PagelD 14

 

RIGHT TO VENUE: The law gives the person or company who has sued you the right to file in any one of
several places as listed below. However, if you have been sued in any place other than one of these places, you,
as the defendant(s), have the right to request that the case be moved to a proper location or venue. A preper
location or venue may be one of the following: 1) Where the contract was entered into; 2) If suit is on an
unsecured promissory note, where note is signed or where maker resides; 3) if the suit is to recover property or
to foreclose a lien, where the properly is located; 4) Where the event giving rise to the suit occurred; 5) Where
any one or more of the defendant(s) sued resides; 6) Any location agreed to in a contract; 7) In an action for
money due, if there is no agreement as to where suit may be filed, where payment is to be made.

lf you, as a defendant(s), believe the plaintiff(s) has/have not sued in one of these correct places, you must
appear on your court date and orally request a transfer, or you may file a WRITTEN request for transfer. in
affidavit form (sworn to under oath) with the court seven days prior to your first court date and send a copy to the
plaintiff(s) or plaintiff(s’) attorney, if any.

Acopy of the statement of claim shall be served with this summons.

“asmven, KAREN £. RUSHING
Suphy CLERK OF THE CIRCUIT COURT

L ce eacinbvetge,
BY: ~

C Brandenburg, Deputy Clerk

  
 

AES,
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Sa

DATE: January 25, 2018

if you are a person with a disability who needs any accommodation in order to
participate in this proceeding, you are entitled, at no cost fo you, to the provision of
certain assistance. Please contact the Sarasota County Jury Office, P.O. Box 3079,
sarasota, Florida 34230-3079, (941)861-7400, at least seven (7) days before your
scheduled court appearance, or immediately upon reeeiving this notification if the time
before the scheduled appearance is less than seven (7) days; if you are hearing or voice
impatred, call 711.
Ifyou caanot afford an atiarney, contact Gulfcoast Legal Services at (941)366-1746 or www.culfcoasitegal.crg, or Legal
Ald of Manasota at (941)366-0038. If you do not qualify for tree legal assistance or do not know an aliorney, you may call

ar attornay referral service (listed in the phone book), cr contact the Florida Bar Lawyer Referral Service ai (800)S42- 8074
cr shtlpcwww floridabar ora/divpam/lreniine.nsfiwreferral6?OpenForm>.

 

CLERK OF THE CIRCUIT COURT

P.O. Box 3078 or 4000 South Tamiani Trail
Sarasota, Florica 34230 Venice, Florida 24293

Filed O1/25/2018 05:04 PM - Karen E. Rushing. Clerk of the Cireuit Court, Sarasota County, FL.
Case 8:18-cv-00567-RAL-AAS Document 1-2 Filed 03/09/18 Page 9 of 22 PagelD 15

Filing # 68033968 E-Filed 02/15/2018 03:43:29 PM

IN THE COUNTY COURT OF THE TWELFTH JUDICIAL CIRCUIT
IN AND FOR SARASOTA COUNTY, FLORIDA
SMALL CLAIMS DIVISION

GAIL REGILIO,
Plaintiff,
Case No. 2018-SC-000516-NC

Vv,

BRIDGECREST CREDIT
COMPANY, LLC,

Defendant.

 

NOTICE OF APPEARANCE AS COUNSEL FOR DEFENDANT
AND DESIGNATION OF E-MAIL ADDRESSES

Robert E. Sickles, P.A. and Yesica S. Liposky, Esq. with the law firm of Broad and Cassel
LLP, hereby give notice of their appearance as counsel for Defendant in this action. In addition,
pursuant to Fla. R. Jud. Admin 2.516(b)(1 (A), counsel for Defendant’s email addresses for service
in this case are as follows:
Primary: rsickles@broadandcassel.com
Primary: yliposky@broadandcassel.com
Secondary: knovak@broadandcassel.com

Secondary: egarvey@broadandcassel.com
Secondary: jlovins@broadandcassel.com

 

 

 

CERTIFICATE OF SERVICE

 

THEREBY CERTIFY that on February 15, 2018, a truc and correct copy of this document
was served via e-Portal on the following:

Jon P. Dubbeld, Esq.
Berkowitz & Myer

4900 Central Avenue

St. Petersburg, FL 33707

Filed 02/15/2018 04:36 PM - Karen E. Rushing, Clerk of the Circuit Court, Sarasota County, FL
Case 8:18-cv-00567-RAL-AAS Document 1-2 Filed 03/09/18 Page 10 of 22 PagelD 16

/s/ Robert E. Sickles, Esq.

Robert E. Sickles, P.A.

Florida Bar No. 167444

Yesica S. Liposky, Esq.

Florida Bar No. 119924

BROAD AND CASSEL LLP

100 North Tampa Street, Suite 3500
Tampa, FL 33602

Telephone: 813-225-3020

Facsimile: 813-225-3039

Primary: rsickles@broadandcassel.com
Primary: yliposk y@broadandcasse!.com
Secondary: knovak@broadandcassel.com
Secondary: egarvey@broadandcassel.com

Secondary: jlovins@broadandcassel.com
Counsel for Defendant

rm
Case 8:18-cv-00567-RAL-AAS Document 1-2 Filed 03/09/18 Page 11 of 22 PagelD 17

 

C] IN THE CIRCUIT COURT OF THE TWELFTH JUDICIAL CIRCUIT IN AND FOR SARASOTA COUNTY, FLORIDA
Lx IN THE COUNTY COURT IN AND FOR SARASOTA COUNTY, FLORIDA AO

CASE NUMBER: 2018 SC 000516 NC
GAIL REGILIO
PLAINTIFF
"vs

BRIDGECREST CREDIT COMPANY LLC

 

 

 

 

 

 

 

 

 

DEFENDANT
a COURT APPEARANCE RECORD
par [ne lead fey

JUDGE ERIKA N. QUARJERMAINE, Evidence Record No.
DEPUTY CLERK: KCHERNICH MNES
PLTF.ATTY: “Du bb hd Plaintiff #
DEF.ATTY: W @ ine Defendant #
CT.RPTR: NONE q ?
RULE INVOKED: [ ] YES NO
JURY SWORN: [_] Yes NO
PLAINTIFF'S WITNESSES SWORN: ~ DEFENDANT'S WITNESSES SWORN:
Name Testified Name Testified
1). 1).
2). 2).
3). 3).
4). 4).
5). 5).

- PLAINTIFF'S MOTIONS: DEFENDANT'S MOTIONS:
Date/Motion/Ruling Date/Motion/Ruling

| 1). SMALL CLAIMS PRETRIAL CONFERENCE 1).

 

 

 

 

: RULING: (* [. —Th 3-20.18 OFA 2),
JURY POLLED: [] Yes af NO

KAREN E. RUSHING
CLERK OF THE CIRCUIT COURT

B oN DATE: FEBRUARY 20, 2018

“eT

 

 

Filed 02/20/2018 01:22 PM - Karen E. Rushing, Clerk of the Circuit Court, Sarasota County, FL
Case 8:18-cv-00567-RAL-AAS Document 1-2 Filed 03/09/18 Page 12 of 22 PagelD 18

 

 

20
IN THE COUNTY COURT IN AND FOR SARASOTA COUNTY, FLORIDA

GAIL REGILIO
4900 CENTRAL AVE
ST. PETERSBURG, FL 33707

PLAINTIFF
CASE NUMBER: 2018 SC 000516 NC

VS

BRIDGECREST CREDIT COMPANY LLC
CORPORATION SERVICE COMPANY
1201 HAYS STREET
TALLAHASSEE, FL 32301

DEFENDANT

PLAINTIFF ATTORNEY DEFENDANT ATTORNEY

EINAL JUDGMENT/ORDER

IT IS ADJUDGED THAT:

| The Plaintiff recover from the Defendant(s) the sum of $ ,on principle, §. as prejudgment interest
for attorney's fees, with costs of $ , making a subtotal of $ , all of which shall bear

interest at the rate of 5.53 % per year as provided for by Florida Statute, for all of which let execution issue.

CT] Defendant(s) shall complete Florida Small Claims Rules Form 7.343 (Fact Information Sheet) and return it to the Plaintiff or
their attorney within 45 days from the date of this order, unless the Final Judgment is satisfied or a Motion for a New Trial or
Notice of Appeal is filed. Jurisdiction of this case is retained to enter further orders that are proper to compel the Defendant(s)

to complete form 7.343 and return it to the Plaintiff.
CT] The action stands DISMISSED with/without prejudice because Plaintiff/ooth parties failed to ae dismissed the act
. C .

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This case is set for fretria trial on

Maw oh ‘Z0 2%, 4 OD fad Kohan be set for

minutes. Any request for postponement must be in Writing, scheduled for hearing and upon written notice to the other party.

Parties failed to reach agreement in Mediation. a .
Pond ~ mst SWS.

Exbocuments need to be obtained/exchanged by Piaintiff/Defendant.
(1 Pending a filing of bankruptcy.
1) Other:

Dated this 20th day of February, 2018
nas
JUDGE OF THE COUNTY COURT

CERTIFICATE OF SERVICE

the forgoing has been mailed or handed to the parties listed above.

| HEREBY CERTIFY that a true copy of
: DATED this: 20th day of February, 2018

KAREN E. RUSHING
CLERK OF THE CIRCUIT COURT

  
 
   

DATE: February 20, 2018

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Page 1 of 1

 

 

Filed 02/20/2018 03:04 PM - Karen E. Rushing, Clerk of the Circuit Court, Sarasota County, FL
Case 8:18-cv-00567-RAL-AAS Document 1-2 Filed 03/09/18 Page 13 of 22 PagelD 19

 

 

 

DOIG SC SINC

RULE 7.090. APPEARANCE; DEFENSIVE PLEADINGS; TRIAL
DATE

(a) Appearance. On the date and time appointed in the notice to appear,
the plaintiff and defendant shal! appear personally or by counsel, subject to
subdivision (b).

(b) Notice to Appear; Pretrial Conference. The summons/notice to
appear shall specify that the initial appearance shall be for a pretrial conference.
The initial pretrial conference shall be set by the clerk not more than 50 days from
the date of the filing of the action. In the event the summons/notice to appear is
non-served and the return of service is filed 5 days before the pretrial conference,
the pretrial conference shall be canceled by the court as to any non-served party.
The plaintiff may request a new summons/notice to appear and include a new
initial appearance date for the pretrial conference. The pretrial conference may be
managed by nonjudicial personnel employed by or under contract with the court.
Nonjudicial personnel must be subject to direct oversight by the court. A judge
must be available to hear any motions or resolve any legal issues. At the pretrial
conference, all of the following matters shall be considered:

(1) The simplification of issues.
(2) The necessity or desirability of amendments to the pleadings.

(3) The possibility of obtaining admissions of fact and of
documents that avoid unnecessary proof.

(4) The limitations on the number of witnesses.
(5) The possibilities of settlement.

(6) Such other matters as the court in its discretion deems
necessary.

Form 7.322 shall and form 7.323 may be used in conjunction with this rule.

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(c) Defensive Pleadings. Unless required by order of court, written
pretrial motions and defensive pleadings are not necessary. If filed, copies of such
pleadings shall be served on all other parties to the action at or prior to the pretrial
conference or within such time as the court may designate. The filing of a motion
or a defensive pleading shall not excuse the personal appearance of a party or
attorney on the initial appearance date (pretrial conference).

(d) Trial Date. The court shall set the case for trial not more than 60 days
from the date of the pretrial conference. Notice of at least 10 days of the time of
trial shall be given. The parties may stipulate to a shorter or longer time for setting
trial with the approval of the court. This rule does not apply to actions to which
chapter 51, Florida Statutes, applies.

(e) Waiver of Appearance at Pretrial Conference. Where all parties are
represented by an attorney, counsel may agree to waive persona] appearance at the
initial pretrial conference, if a written agreement of waiver signed by all attorneys
is presented to the court prior to or at the pretrial conference. The agreement shall
contain a short statement of the disputed issues of fact and law, the number of
witnesses expected to testify, an estimate of the time needed to try the case, and
any stipulations of fact. The court shall forthwith set the case for trial within the
time prescribed by these rules.

(f) Appearance at Mediation; Sanctions. In small claims actions, an
attorney may appear on behalf of a party at mediation if the attorney has full
authority to settle without further consultation. Unless otherwise ordered by the
court, a nonlawyer representative may appear on behalf of a party to a small claims
mediation if the representative has the party’s signed written authority to appear
and has full authority to settle without further consultation. In either event, the
party need not appear in person. Mediation may take place at the pretrial
conference. Whoever appears for a party must have full authority to settle. Failure
to comply with this subdivision may result in the imposition [of] costs and attorney
fees incurred by the opposing party.

(g) Agreement. Any agreements reached as a result of small claims
mediation shall be written in the form of a stipulation. The stipulation may be

entered as an order of the court.
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Committee Notes

1972 Amendment. Rule 7.120 is incorporated in subdivision (c). It is slightly expanded
to provide for a computation period from service by mail and to give the parties the right to
stipulate to a shorter time for the trial.

1984 Amendment. This change requires the use of a pretrial procedure and requires both
parties to attend the pretrial conference which can be used to resolve pretrial motions. The use of
a pretrial previously varied from county to county.

1988 Amendment. (b) | st sentence — Chair’s clarification.

2nd sentence — Require the clerk to set the initial pretrial conference within a reasonable
time after filing of the action taking into consideration the fact that the time standards guideline
for small claims cases is 95 days.

3rd sentence — State within the small claims rules what matters shall be considered at
the pretrial conference rather than by reference to Florida Rule of Civil Procedure 1.220(a),
which has been amended several times and is generally not applicable to small claims cases.

4th sentence — Direct that new form 7.322 shall and that new form 7.323 may be used
statewide.

(c) Clarifies that a personal appearance is required at the pretrial conference when a
defense motion is filed.

(e) Adds a provision for waiving counsel’s appearance at the pretrial conference
where all parties are represented by counsel.

Court Commentary

2008 Amendment. The requirement that an attorney attending mediation on behalf of the
client have full authority to settle should not be equated to a requirement to settle where one or
more parties wants to proceed to trial.

RULE 7.100. COUNTERCLAIMS, SETOFFS, THIRD-PARTY
COMPLAINTS, TRANSFER WHEN JURISDICTION
EXCEEDED

(a) Compulsory Counterclaim. Any claim of the defendant against the
plaintiff, arising out of the same transaction or occurrence which is the subject
matter of the plaintiff's claim, shall be filed not less than 5 days prior to the initial

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appearance date (pretrial conference) or within such time as the court designates or
it is deemed to be abandoned.

(b) Permissive Counterclaim. Any claim or setoff of the defendant
against the plaintiff, not arising out of the transaction or occurrence which is the
subject matter of the plaintiff's claim, may be filed not less than 5 days before the
initial appearance date (pretrial conference) or within such time as the court
designates, and tried, providing that such permissive claim is within the
jurisdiction of the court.

(c) How Filed. Counterclaims and setoffs shall be filed in writing. If
additional time is needed to prepare a defense, the court may continue the action.

(d) Transfer When beyond Jurisdiction. When a counterclaim or setoff
exceeds the jurisdiction of the court, it shall be filed in writing before or at the
hearing, and the action shall then be transferred to the court having jurisdiction
thereof. As evidence of good faith, the counterclaimant shall deposit a sum
sufficient to pay the filing fee in the court to which the case is to be transferred
with the counterclaim, which shall be sent with the record to the court to which
transferred. Failure to make the deposit waives the right to transfer.

(e) Third-Party Complaints. A defendant may cause a statement of
claim to be served on a person not a party to the action who is or may be liable to
the defendant for all or part of the plaintiff's claim against the defendant. A
defendant must obtain leave of court on motion made at the initial appearance date .
(pretrial conference) and must file the third-party complaint within such time as the
court may allow. The clerk shall schedule a supplemental pretrial conference, and
on the date and time appointed in the notice to appear the third-party plaintiff and
the third-party defendant shall appear personally or by counsel. If additional time is
needed for the third-party defendant to prepare a defense, the court may continue
the action. Any party may move to strike the third-party claim or for its severance
or separate trial. When a counterclaim is asserted against the plaintiff, the plaintiff
may bring in a third-party defendant under circumstances that would entitle a
defendant to do so under this rule.

Committee Notes

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IN THE COUNTY COURT OF THE 12TH JUDICIAL CIRCUIT
IN AND FOR SARASOTA COUNTY, FLORIDA

SMALL CLAIMS
GAIL REGILIO,
Case No. 2018 SC 000516 NC
Plaintiff,
JUDGE: ERIKA N. QUARTERMAINE
Vv.

BRIDGECREST CREDIT COMPANY, LLC,

Defendant.
/

PLAINTIFF’S MOTION TO INVOKE THE RULES OF CIVIL PROCEDURE
COMES NOW, Plaintiff, Gail Regilio (Plaintiff), by and through her undersigned
counsel pursuant to Florida Small Claims Rule 7.020(c), and hereby petitions this Honorable
Court for entry of an Order allowing Plaintiff to enlarge the time to set trial based on Rule
7.090(d). Plaintiff respectfully asserts the need to depose Defendant’s corporate representative
as well as several collections representatives who spoke with Plaintiff regarding this matter. As
such, Plaintuff will not be ready for trial within 60 days of the pre-trial conference.
WHEREFORE, Plaintiff respectfully requests this Honorable Court to enlarge the time
to sel trial for six (6) months from the time of the pre-trial conference and to invoke the Rules of
Civil Procedure.
isi Jon P. Dubbeld
Jon P. Dubbeld, Esq.
Fla. Bar No. 105869
Jon@berkmyer.com
Berkowitz & Myer
4900 Central Ave
St. Petersburg, Florida 33707

(727) 344-0123 (olfice)
Attorneys for Plaintiff

 

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CERTIFICATE OF SERVICE

]T HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
by electronically filing the foregoing with the Clerk of Courts by using the Florida Courts e-
filing Portal which will send a notice of electronic fling to the following:

/si Jon P. Dubbeld
Counsel for Plainuff
Case 8:18-cv-00567-RAL-AAS Document 1-2 Filed 03/09/18 Page 19 of 22 PagelD 25

Filing # 68900722 E-Filed 03/07/2018 09:43:44 AM

IN THE COUNTY COURT OF THE 12TH JUDICIAL CIRCUIT
IN AND FOR SARASOTA COUNTY, FLORIDA

SMALL CLAIMS
GAIL REGILIO,
Case No. 2018 SC 000516 NC
Plaintiff,
JUDGE: ERIKA N. QUARTERMAINE

v.
BRIDGECREST CREDIT COMPANY, LLC,

Defendant.
/

 

NOTICE OF APPEARANCE AND
DESIGNATION OF E-MALL ADDRESSES

COMES NOW, Aaron M. Swift, Esq. of the law firm Swift Law, P.A., and hereby files
this Notice of-Appearance as co-counsel of record for Plaintiff, Gail Regilio, and respectfully
requests service of copies of all future pleadings, notices, discovery, and other papers served in
connection with this action.

Additionally, pursuant to the Florida Supreme Court’s Order No. SC 10-2101 and Florida
Rule of Judicial Administration 2.516, Mr. Swift hereby designates his primary and secondary e-
mail addresses for this matter:

Aaron M. Swift, Esq:

Primary: aswifi@swilt-law.com
Secondary: info@swift-law.com

Dated: March 7, 2018.

Respectfully submitted,

Swirt LAW, P.A.

és Aaron M, Swift
Aaron M. Swift, Esq., FBN 0093088
10460 Roosevelt Bivd. N.

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Suite 313

St. Petersburg, FL 33716
Phone: (727) 490-9919
Fax: (727) 255-5332
aswifi@swift-law.com
Co-Counsel for Plaintiff

CERTIFICATE OF SERVICE

THEREBY CERTIFY that I filed and then served a true and correct copy of the foregoing
by electronically filing the foregoing with the Clerk of Courts by using the Florida Courts e-
filing Portal which will send a notice of electronic fling to the following:
rsickles@broadandcassel.com and Jon@berkmyer.com on this 7 day of March, 2018.

isi Aaron M. Swift
Co-Counsel for Plaintiff

 
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IN THE COUNTY COURT OF THE TWELFTH JUDICIAL CIRCUIT
IN AND FOR SARASOTA COUNTY, FLORIDA

SMALL CLAIMS DIVISION
GAIL REGILIO,
Plaintiff,
Case No. 2018-SC-0005 16-NC
V.
BRIDGECREST CREDIT

COMPANY, LLC,

Defendant.
/

DEFENDANT'S NOTICE OF REMOVAL OF CASE TO FEDERAL COURT

Defendant, Bridgecrest Credit Company, LLC, by and through its undersigned counsel,
hereby gives notice that on March 9, 2018, it filed a Notice of Removal of this cause to the
United States District Court for the Middle District of Florida, Tampa Division. A true and

correct copy of the Notice of Removal is attached to this Notice.

/s/ Robert E. Sickles

Robert E. Sickles, P.A.

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Secondary: knovak@broadandcassel.com
Secondary: egarvey@broadandcassel.com
Counsel for Defendant

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on March 9, 2018, a true and correct copy of this document
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was served via e-mail on the following:

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/s/ Robert E.. Sickles
Robert E. Sickles, P.A.
Florida Bar. No. 167444
